          Case 1:24-cv-07975-AT                    Document 46              Filed 12/13/24            Page 1 of 3



      quinn emanuel trial lawyers | new york
      295 5th Avenue, New York, New York 10016-7103 | TEL (212) 849-7000 FAX (212) 849-7100




                                                                                                      WRITER’S DIRECT DIAL NO.
                                                                                                                (212) 849-7364

                                                                                                      WRITER’S EMAIL ADDRESS
                                                                                                 alexspiro@quinnemanuel.com
December 13, 2024

VIA ECF AND EMAIL
TORRES_NYSDCHAMBERS@NYSD.USCOURTS.GOV

Honorable Analisa Torres
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

Re:     Jane Doe v. Sean Combs et al., 24-cv-07975-AT

Dear Honorable Judge Torres:

We write to the Court on behalf of our client Shawn Carter on a matter of extraordinary and grave
importance for the integrity of the proceedings in the above-captioned case.
Today at 7:27 PM EST, NBC News reported on an interview that its reporters conducted with the
anonymous plaintiff in this case.[1] The interview outs plaintiff’s allegations for what they are: a
sham.
Basic facts in her narrative – the who, what, when, and where – are wrong. She claims her father
picked her up after the assault, her own father denies that ever happened. She claims she spoke
with Benji Madden at the party that night, but he was on tour in the Midwest at the time, forcing
her to admit “I have made some mistakes. I may have made a mistake in identifying.” She claims
the assault took place at an afterparty at Mr. Combs’ home but photos that night show Mr. Combs
and Mr. Carter at Lotus nightclub for the afterparty. When pressed, the Plaintiff admitted she was
“guessing” about key details, including the time it took to reach the venue. She admits she has no
single corroborating witness over the last 24 years.
These stunning revelations make clear that the complaint filed by plaintiffs’ attorney, Anthony
Buzbee, therefore had no factual basis whatsoever. Even Mr. Buzbee is walking back the
complaint he put his name to – excusing these glaring inconsistencies by pointing the finger at the



[1]
    Jay-Z rape accuser comes forward to NBC News, acknowledges inconsistencies in her
allegations, NBC New (December 13, 2024), https://www.nbcnews.com/news/us-news/jay-z-
rape-accuser-comes-forward-nbc-news-acknowledges-inconsistencies-rcna183435.

      quinn emanuel urquhart & sullivan, llp
      ABU DHABI | ATLANTA | AUSTIN | BEIJING | BERLIN | BOSTON | BRUSSELS | CHICAGO | DALLAS | DOHA | HAMBURG | HONG KONG | HOUSTON | LONDON |
      LOS ANGELES | MANNHEIM | MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY | SAN FRANCISCO |
      SEATTLE | SHANGHAI | SILICON VALLEY | SINGAPORE | STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | WILMINGTON | ZURICH
        Case 1:24-cv-07975-AT           Document 46        Filed 12/13/24      Page 2 of 3



case being referred by another firm who allegedly vetted the story before sending to them. The
heinous allegations against Mr. Carter are patently false.
The complaint filed by plaintiffs’ attorney, Anthony Buzbee, therefore had no factual basis
whatsoever. The heinous allegations against Mr. Carter are patently false.
In light of those developments, it is now clear that Mr. Buzbee signed the complaints and other
filings in this case in violation of Federal Rule of Civil Procedure 11. Under that rule, an attorney
who signs a document assumes “an affirmative duty to conduct a reasonable inquiry into the facts
and the law before filing.” Business Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S.
533, 551 (1991). The attorney’s signature “denotes merit” in the filing and “sends a message to
the district court that this document is to be taken seriously.” Id. at 546; New Alliance Party v.
F.B.I., 858 F. Supp. 425, 429 (S.D.N.Y. 1994) (“[P]laintiffs may not file a complaint in this court
without having made a reasonable investigation of the facts.”).
In addition, attorneys who learn after filing a complaint that the factual assertions are false must
immediately withdraw the claims. See City of Yonkers v. Otis Elevator Co., 844 F.2d 42, 49 (2d
Cir. 1988); see also, e.g., ABA Model Rules of Professional Conduct, Rule 3.1 (“A lawyer shall
not bring or defend a proceeding, or assert or controvert an issue therein, unless there is a basis in
law and fact for doing so that is not frivolous….”); (RC) 2 Pharma Connect, LLC v. Mission
Pharmacal Co., 2022 WL 4234552, at *3 (S.D.N.Y. Sept. 14, 2022) (imposing Rule 11 sanctions
for amended complaint that repeated allegation that lacked evidentiary support).
Given today’s revelations, Mr. Buzbee almost certainly failed to undertake a reasonable inquiry
into the facts before filing the complaint. He should never have brought the claims. See Fox v.
Boucher, 794 F.2d 34, 38 (2d Cir. 1986) (affirming sanctions order where “[p]laintiff’s complaint
was entirely frivolous, and . . . was made as part of a conscious effort to harass” the defendant).
At minimum, he should withdraw them now. Allowing these claims to remain pending even a
moment longer not only harms Mr. Carter, his family, his businesses, his employees, and his
legacy—it also impairs the integrity of the judicial system, thwarts the pursuit of justice, and
silences the voices of true victims.
Furthermore, it appears that Mr. Buzbee has attempted to circumvent the authority of this Court to
enforce Rule 11 and associated obligations by declining to seek admission to this Court before
signing pleadings and other documents. Mr. Buzbee is not licensed to practice law in this Court,
and he has not sought (let alone obtained) admission pro hac vice. Yet in the nearly eight weeks
since he initiated this proceeding, Mr. Buzbee has filed a complaint in this matter that was signed
solely by him using an “/s” signature; signed the amended complaint (alongside other counsel) that
added Mr. Carter as a defendant; and noticed a motion for the plaintiff to proceed anonymously
accompanied by a supporting brief and a declaration, once again signed only by him. Most
recently, on December 10, 2024, Mr. Buzbee filed a letter, which he also signed alone.
Mr. Buzbee’s failure to obtain admission to the bar of this Court is a transparent attempt to
circumvent the basic requirements of Rule 11 and the rules of professional conduct. Admission
subjects an attorney to the jurisdiction of the Court and to sanctions for signing pleadings that are
not grounded in the facts and the law.1 Mr. Buzbee thus appears to have strategically declined to
seek admission in order to avoid sanctions for a complaint that he knew had no factual basis.


1
    See, e.g., Man Wei Shiu v. New Peking Taste Inc., 11-CV-1175 (NGG) (RLM), at *8-9
(E.D.N.Y. May 24, 2013) (declining to refer attorney to the Disciplinary Committee of the District


                                                  2
        Case 1:24-cv-07975-AT          Document 46        Filed 12/13/24      Page 3 of 3



Given these facts, Mr. Carter intends to file immediately a motion to strike the first amended
complaint under Rules 11(c)(2) and 12(f). He respectfully requests that the Court shorten the filing
deadline for that motion from 21 days to 1 day from the date of service in light of today’s stunning
public disclosures and the severe ongoing harm to Mr. Carter’s reputation. See Fed. R. Civ. P.
11(c)(2); R. III(A), Judge Torres Individual Practices in Civil Cases.

Respectfully Submitted,

QUINN EMANUEL URQUHART & SULLIVAN, LLP




Alex Spiro

CC: Antigone Curis




for her “inflammatory” and “extremely disturbing” conduct because “she is not admitted in this
district and she has not entered an appearance in this case”); see also Erbacci, Cerone, & Moriarty,
Ltd. v. United States, 923 F. Supp. 482, 485 (S.D.N.Y. 1996) (“[B]ecause plaintiffs’ counsel has
not been admitted to practice before this Court [SDNY], the instant motion is not properly before
this Court, and therefore, should be denied.”).


                                                 3
